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                  CERTIFICATE OF NON-CONCURRENCE


I, Dennis A. Whitaker, counsel for Hawke McKeon & Sniscak, LLP, do hereby

certify that I sought the concurrence of counsel for plaintiff Pace-O-Matic, Inc.

with respect to the Joint Motion for Stay (Doc. 99). Counsel for plaintiff offered to
concur but only on conditions unrelated to the stay application which we treat as

nonconcurrence.



                                                  /s/ Dennis A. Whitaker
                                                  Dennis A. Whitaker
                                                  100 North Tenth Street
                                                  Harrisburg, PA 17101
     Dated: March 3, 2021                         (717) 236-1300
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                      CERTIFICATE OF SERVICE

I hereby certify that, on March 3, 2021, I electronically filed the foregoing
document with the Clerk of the Court for the United States Court District
Court for the Middle District of Pennsylvania by using the ECF system.
Pursuant to LR 5.7, participants in the case who are registered ECF users will
be served by the ECF system.
                                                  /s/ Dennis A. Whitaker
